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OLF3 (Official Local Form 3)
Effective December 1, 2017
                                                                     UNITED STATES BANKRUPTCY COURT
                                                                        DISTRICT OF MASSACHUSETTS

 In re:                                                                                                 Case No.: 17-41925
             Robert E McClure, Jr.                                                                     Chapter 13
             Amy E McClure
                              Debtor(s)

                                                                            CHAPTER 13 PLAN

Check one. This plan is:
        Original
        AMENDED Amended (Identify First, Second, Third, etc.)
        Postconfirmation (Date Order Confirming Plan Was Entered:                                                  )
 Date this plan was filed:



 PART 1:                                                                   NOTICES
TO ALL INTERESTED PARTIES:
You should review carefully the provisions of this Plan as your rights may be affected. In the event the Court enters an order confirming this Plan, its
provisions may be binding upon you. The provisions of this Plan are governed by statutes and rules of procedure, including Title 11 of the United
States Code (the “Bankruptcy Code”), the Federal Rules of Bankruptcy Procedure (“Fed. R. Bankr. P.”), the Massachusetts Local Bankruptcy Rules
(“MLBR”), and, in particular, the Chapter 13 rules set forth in Appendix 1 of MLBR, all of which you should consult.

TO CREDITORS:
Your rights may be affected by this Plan. Your claim may be reduced, modified, or eliminated. Read this Plan carefully and discuss it with your
attorney. If you do not have an attorney, you may wish to consult with one. If you oppose this Plan's treatment of your claim or any other provision
of this Plan, you or your attorney must file with the Court an objection to confirmation on or before the later of (i) thirty (30) days after the date on
which the first Meeting of Creditors pursuant to 11 U.S.C. § 341 is held or (ii) thirty (30) days after service of an amended or modified Plan, unless
the Court orders otherwise. A copy of your objection must be served on the Debtor(s), the attorney for the Debtor(s), and the Chapter 13 Trustee (the
“Trustee”). The Bankruptcy Court may confirm this Plan if no objection to confirmation is filed or if it overrules an objection to confirmation. You
have received or will receive a Notice of Chapter 13 Bankruptcy Case from the Bankruptcy Court which sets forth certain deadlines, including the
bar date for filing a Proof of Claim. To receive a distribution, you must file a Proof of Claim.

TO DEBTOR(S):
You (or your attorney) are required to serve a copy of this Plan on all creditors in the manner required under the Bankruptcy Code, the Fed. R. Bankr.
P., and MLBR. Unless the Court orders otherwise, you must commence making payments not later than the earlier of (i) thirty (30) days after the
date of the filing of this Plan or (ii) thirty (30) days after the order for relief. You must check a box on each line below to state whether or not this
Plan includes one or more of the following provisions. If you check the provision “Not Included,” if you check both boxes, or if you do not
check a box, any of the following provisions will be void if set forth later in this Plan. Failure to properly complete this section may result in
denial of confirmation of this Plan.

                    FOR EACH LINE BELOW, DO NOT CHECK BOTH BOXES; DO NOT LEAVE BOTH BOXES BLANK.
 1.1         A limit on the amount of a secured claim, set out in Part 3.B.1, which may result in a Included Not Included
             partial payment or no payment at all to the secured creditor.
 1.2         Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,    Included Not Included
             set out in Part 3.B(3).
 1.3         Nonstandard provisions, set out in Part 8.                                             Included Not Included


 PART 2:                                                               PLAN LENGTH AND PAYMENTS
A.           LENGTH OF PLAN:

              36 Months. 11 U.S.C. § 1325(b)(4)(A)(i);
              60 Months. 11 U.S.C. § 1325(b)(4)(A)(ii);

               Months. 11 U.S.C. § 1322(d)(2). The Debtor(s) states the following cause:


B.           PROPOSED MONTHLY PAYMENTS:


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 Monthly Payment Amount                                                                          Number of Months
 $922.31                                                                                         60

C.           ADDITIONAL PAYMENTS:

Check one.
                          None. If “None” is checked, the rest of Part 2.C need not be completed and may be deleted from this Plan.

The total amount of Payments to the Trustee [B+C]:                                                                                 $55,338.60.
This amount must be sufficient to pay the total cost of this Plan in Exhibit 1, Line h.

 PART 3:                                                                        SECURED CLAIMS
                          None. If “None” is checked, the rest of Part 3 need not be completed and may be deleted from this Plan.

A.           CURE OF DEFAULT AND MAINTENANCE OF PAYMENTS:

Check one.

             None. If “None” is checked, the rest of Part 3.A need not be completed and may be deleted from this Plan.
             Any Secured Claim(s) in default shall be cured and payments maintained as set forth in (1) and/or (2) below.
             Complete (1) and/or (2).

             (1) PREPETITION ARREARS TO BE PAID THROUGH THIS PLAN

Prepetition arrearage amounts are to be paid through this Plan and disbursed by the Trustee. Unless the Court orders otherwise, the amount(s) of
prepetition arrears listed in an allowed Proof of Claim controls over any contrary amount(s) listed below. Unless the Court orders otherwise, if relief
from the automatic stay is granted as to any collateral listed in this paragraph, all payments paid through this Plan as to that collateral will cease upon
entry of the order granting relief from stay.

             (a) Secured Claim(s) (Principal Residence)

              Address of the Principal Residence:    -NONE-
                    The Debtor(s) estimates that the fair market value of the Principal Residence is: $

 Name of Creditor                                                    Type of Claim                                        Amount of Arrears
                                                                     (e.g., mortgage, lien)


                                                                                              Total of prepetition arrears on Secured Claim(s) (Principal Residence): $0.00

             (b) Secured Claim(s) (Other)

 Name of Creditor                                   Type of Claim                   Description of Collateral                             Amount of Arrears
                                                                                    (or address of real property)
 MTGLQ investors, LP                                First Mortgage                  5 Montclair Circle Chelmsford, MA 01824               $40,000.00
                                                                                    Middlesex County

                                                                                    Total of prepetition arrears on Secured Claim(s) (Principal Residence): $45,769.12
                                                                                     Total prepetition arrears to be paid through this Plan [(a) + (b)]: $45,769.12

             (2) MAINTENANCE OF CONTRACTUAL INSTALLMENT PAYMENTS (TO BE PAID DIRECTLY TO CREDITORS):

Contractual installment payments are to be paid directly by the Debtor(s) to creditor(s). The Debtor(s) will maintain the contractual installment
payments as they arise postpetition on the secured claims listed below with any changes required by the applicable contract and noticed in conformity
with any applicable rules.

 Name of Creditor                                                    Type of Claim                                        Description of Collateral
 MTGLQ investors, LP                                                 First Mortgage                                       5 Montclair Circle Chelmsford, MA
                                                                                                                          01824 Middlesex County
 Santander Consumer USA IncBank N/A                                  Automobile Loan                                      2012 Mazda MAZDA-6 60000 miles


B.           MODIFICATION OF SECURED CLAIMS:
                                                                                                                                                                         Page 2 of 8
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Check one.

             None. If “None” is checked, the rest of Part 3.B need not be completed and may be deleted from this Plan.

C.           SURRENDER OF COLLATERAL:

Check one.

             None. If “None” is checked, the rest of Part 3.C need not be completed and may be deleted from this Plan.

 PART 4:                                                                        PRIORITY CLAIMS
Check one

             None. If “None” is checked, the rest of Part 4 need not be completed and may be deleted from this Plan.

             The following priority claim(s) will be paid in full without postpetition interest. Unless the Court orders otherwise, the amount of
             the priority portion of a filed and allowed Proof of Claim controls over any contrary amount listed below.


A.           DOMESTIC SUPPORT OBLIGATIONS:

 Name of Creditor                                                      Description of Claim                          Amount of Claim
 -NONE-

B.      OTHER PRIORITY CLAIMS (Except Administrative Expenses):
 Name of Creditor                   Description of Claim                                                             Amount of Claim
 -NONE-

                                                                     Total of Priority Claim(s) (except Administrative Expenses) to be paid through this Plan: $0.00

C.           ADMINISTRATIVE EXPENSES:

             (1) ATTORNEY’S FEES:

 Name of Attorney                                                                                                 Attorney's Fees
 Patrick J. Wood                                                                                                                                             $4,035.00

If the attorney's fees exceed the amount set forth in MLBR, Appendix 1, Rule 13-7, the Trustee may not pay any amount exceeding that sum until
such time as the Court approves a fee application. If no fee application is approved, any plan payments allocated to attorney's fees in excess of
MLBR Appendix 1, Rule 13-7 will be disbursed to other creditors up to a 100% dividend.

             (2) OTHER (Describe):

 -NONE-




Total Administrative Expenses (excluding the Trustee’s Commission) to be paid through this Plan [(1) + (2)]: $4,035.00

             (3) TRUSTEE’S COMMISSION:

The Debtor shall pay the Trustee’s commission as calculated in Exhibit 1.

The Chapter 13 Trustee's fee is determined by the United States Attorney General. The calculation of the Plan payment set forth in Exhibit 1, Line
(h) utilizes a 10% Trustee's commission. In the event the Trustee's commission is less than 10%, the additional funds collected by the Trustee, after
payment of any allowed secured and priority claim(s), and administrative expense(s) as provided for in this Plan, shall be disbursed to nonpriority
unsecured creditors up to 100% of the allowed claims.


 PART 5:                                                                  NON PRIORITY UNSECURED CLAIMS

                                                                                                                                                                   Page 3 of 8
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Check one.

             None. If “None” is checked, the rest of Part 5 need not be completed and may be deleted from this Plan.

 PART 6:                                               EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Check one.

             None. If “None” is checked, the rest of Part 6 need not be completed and may be deleted from this Plan.

 PART 7:                                        POSTCONFIRMATION VESTING OF PROPERTY OF THE ESTATE
If the Debtor(s) receives a discharge, property of the estate will vest in the Debtor(s) upon entry of the discharge. If the Debtor(s) does not receive a
discharge, property of the estate will vest upon the earlier of (i) the filing of the Chapter 13 Standing Trustee's Final Report and Account and the
closing of the case or (ii) dismissal of the case.

 PART 8:                                                             NONSTANDARD PLAN PROVISIONS
             None. If “None” is checked, the rest of Part 8 need not be completed and may be deleted from this Plan.


 PART 9:                                                                 SIGNATURES
By signing this document, Debtor(s) acknowledges reviewing and understanding the provisions of this Plan and the Exhibits filed as identified
below.

By signing this document, the Debtor(s) and, if represented by an attorney, the attorney for the Debtor(s), certifies that the wording and order of the
provisions in this Plan are identical to those contained in Official Local Form 3, including the Exhibits identified below, other than any Nonstandard
Plan Provisions in Part 8.


       /s/ Robert E McClure, Jr.                                                       December 14, 2017
       Robert E McClure, Jr.                                                           Date
       Debtor

       /s/ Amy E McClure                                                               December 14, 2017
       Amy E McClure                                                                   Date
       Joint Debtor

      /s/ Patrick J. Wood                                                       Date   December 14, 2017
 Signature of attorney for Debtor(s)
 Patrick J. Wood
 533600
 Patrick J. Wood, Esquire
 11 Summer Street
 Suite 8
 Chelmsford, MA 01824
 978-256-1515
 eliz.lyle @verizon.net, pjwood.esq@verizon.net

The following Exhibits are filed with this Plan:
  Exhibit 1: Calculation of Plan Payment*
    Exhibit 2: Liquidation Analysis*
    Exhibit 3: Table for Lien Avoidance under 11 U.S.C. § 522(f)**
    Exhibit 4: [Proposed] Order Avoiding Lien Impairing Exemption**

 List additional exhibits if applicable.


*Denotes a required Exhibit in every plan
**Denotes a required Exhibit if the box "Included" is checked in Part 1, Line 1.2.

                                                                                                                                                        Page 4 of 8
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Total number of Plan pages, included Exhibits: 8




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                                                                               EXHIBIT 1

                                                                      CALCULATION OF PLAN PAYMENT

 a)    Secured claims (Part 3.A and Part 3.B.1-3 Total):                                                                              $45,769.12
 b)    Priority claims (Part 4.A and Part 4.B Total):                                                                                      $0.00
 c)    Administrative expenses (Part 4.C.1 and 4.C.2 Total):                                                                           $4,035.00
 d)    Nonpriority unsecured claims (Part 5.E Total):                                                                                      $0.00
 e)    Separately classified unsecured claims (Part 5.F Total):                                                                            $2.00
 f)    Executory contract/lease arrears claims (Part 6 Total):                                                                             $0.00
 g)    Total of (a) + (b) + (c) + (d) + (e) + (f):                                                                                     $4,037.00
 h)    Divide (g) by .90 for total Cost of Plan including the Trustee's fee:                                                          $55,338.60
 i)    Divide (h), Cost of Plan, by term of Plan, months:
 j)    Round up to the nearest dollar amount for Plan payment:

If this is either an amended Plan and the Plan payment has changed, or if this is a postconfirmation amended Plan, complete(a) through (h) only
and the following:

 k)    Enter total amount of payments the Debtor(s) has paid to the Trustee:                                                                  $0
 l)    Subtract line (k) from line (h) and enter amount here:                                                                         $55,338.60
 m)    Divide line (l) by the number of months remaining (0 months):                                                                       $0.00
 n)    Round up to the nearest dollar amount for amended Plan payment:                                                                      0.00

 Date the amended Plan payment shall begin:                          / /




                                                                                                                                              Page 6 of 8
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                                                                              EXHIBIT 2

                                                                         LIQUIDATION ANALYSIS

A. REAL PROPERTY
Address                                             Value                          Lien                               Exemption
(Sch. A/B, Part 1)                                  (Sch. A/B, Part 1)             (Sch. D, Part 1)                   (Sch. C)
5 Montclair Circle                                  450,000.00                     236,477.00                         500,000.00
Chelmsford, MA 01824
Middlesex County

 Total Value of Real Property (Sch. A/B, line 55):                                                    $   450,000.00
 Total Net Equity for Real Property (Value Less Liens):                                               $   213,523.00
 Less Total Exemptions for Real Property (Sch. C):                                                    $   213,523.00
                                          Amount Real Property Available in Chapter 7:                $   0.00

B. MOTOR VEHICLES

 Make, Model and Year                               Value                          Lien                               Exemption
 (Sch. A/B, Part 2)                                 (Sch. A/B, Part 2)             (Sch. D, Part 1)                   (Sch. C)
 2012 Mazda MAZDA-6 60000                           7,997.00                       5,452.00                           2,545.00
 miles
 2007 Acura TL 120000 miles                         6,370.00                       0.00                               6,370.00
 2010 Chevrolet Cobalt 8400                         3,114.00                       0.00                               3,114.00
 miles

 Total Value of Motor Vehicles (Sch. A/B, line 55):                                                   $   17,481.00
 Total Net Equity for Motor Vehicles (Value Less Liens):                                              $   12,029.00
 Less Total Exemptions for Motor Vehicles (Sch. C):                                                   $   12,029.00
                                           Amount Motor Vehicle Available in Chapter 7:               $   0.00

C. ALL OTHER ASSETS (Sch. A/B Part 2, no. 4; Part 3 through Part 7. Itemize.)

 Asset                                              Value                          Lien                               Exemption
                                                                                   (Sch. D, Part 1)                   (Sch. C)
 Household Goods and                                5,000.00                       0.00                               5,000.00
 Furnishings
 Clothing / Personal effects                        2,500.00                       0.00                               2,500.00
 Checking: Lowell Five                              251.00                         0.00                               251.00
 Checking: Hanscom Federal                          25.00                          0.00                               25.00
 Credit Union
 Checking: Lowell Five                              72.00                          0.00                               72.00
 Checking and Svings:                               244.00                         0.00                               244.00
 Enterprise Bank
 Checking acct xx9569 $199.00
 Savings acct xxxx1622 $45.00
 Remcon Flooring, Inc.                              0.00                           0.00                               0.00
 80 % ownership
 IRA: INVESCO                                       415.00                         0.00                               0.00
 Federal and State: Expected                        7,418.00                       0.00                               7,000.00
 Federal Tax Refund of
 $4496.00 2016
 State Tax Refund of $2,922.00
 2016

 Total Value of All Other Assets:                                                                     $   15,925.00
 Total Net Equity for All Other Assets (Value Less Liens):                                            $   15,925.00
 Less Total Exemptions for All Other Assets:                                                          $   15,092.00
                                     Amount of All Other Assets Available in Chapter 7:               $   0.00

D. SUMMARY OF LIQUIDATION ANALYSIS

                                                  Amount available in Chapter 7                                                  Amount
                                                                                                                                                         Page 7 of 8
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 A. Amount Real Property Available in Chapter 7 (Exhibit 2, A)                                          $                                  0.00
 B. Amount Motor Vehicles Available in Chapter 7 (Exhibit 2, B)                                         $                                  0.00
 C. Amount All Other Assets Available in Chapter 7 (Exhibit 2, C)                                       $                                  0.00

                                                                     TOTAL AVAILABLE IN CHAPTER 7:      $                                  0.00


E. ADDITIONAL COMMENTS REGARDING LIQUIDATION ANALYSIS:




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                                                                              Document     Page 9 of 23
 Fill in this information to identify your case and this filing:

 Debtor 1                    Robert E McClure, Jr.
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Amy E McClure
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF MASSACHUSETTS

 Case number            17-41925                                                                                                                                   Check if this is an
                                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        5 Montclair Circle                                                             Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the         Current value of the
        Chelmsford                        MA        01824-0000                         Land                                       entire property?             portion you own?
        City                              State              ZIP Code                  Investment property                               $450,000.00                  $450,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee Simple
        Middlesex                                                                      Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                        $450,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                     page 1
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 Debtor 1        Robert E McClure, Jr.
 Debtor 2        Amy E McClure                                                                                      Case number (if known)       17-41925

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Mazda                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      MAZDA-6                                         Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2012                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                   60000                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $7,997.00                  $7,997.00
                                                                     (see instructions)



  3.2    Make:       Acura                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      TL                                              Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2007                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                 120000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $6,370.00                  $6,370.00
                                                                     (see instructions)



  3.3    Make:       Chevrolet                                 Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Cobalt                                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2010                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                    8400                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $3,114.00                  $3,114.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $17,481.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Household Goods and Furnishings                                                                                                 $5,000.00




Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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 Debtor 2          Amy E McClure                                                                                              Case number (if known)   17-41925

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
        No
        Yes. Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Clothing / Personal effects                                                                                                $2,500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $7,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                institutions. If you have multiple accounts with the same institution, list each.
       No
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 Debtor 1         Robert E McClure, Jr.
 Debtor 2         Amy E McClure                                                                                    Case number (if known)   17-41925

        Yes........................                                              Institution name:


                                           17.1.    Checking                     Lowell Five                                                                  $251.00



                                           17.2.    Checking                     Hanscom Federal Credit Union                                                   $25.00



                                           17.3.    Checking                     Lowell Five                                                                    $72.00

                                                                                 Enterprise Bank
                                                    Checking and                 Checking acct xx9569 $199.00
                                           17.4.    Svings                       Savings acct xxxx1622 $45.00                                                 $244.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                      Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                  % of ownership:

                                             Remcon Flooring, Inc.                                                        80          %                           $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                                 Institution name:

                                           IRA                                   INVESCO                                                                      $415.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                               Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............              Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




Official Form 106A/B                                                      Schedule A/B: Property                                                                  page 4
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 Debtor 1       Robert E McClure, Jr.
 Debtor 2       Amy E McClure                                                                             Case number (if known)   17-41925

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                         Expected
                                                            Federal Tax Refund of $4496.00 2016
                                                            State Tax Refund of $2,922.00 2016                  Federal and State                  $7,418.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                   Beneficiary:                         Surrender or refund
                                                                                                                                      value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........


Official Form 106A/B                                                    Schedule A/B: Property                                                           page 5
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 Debtor 1         Robert E McClure, Jr.
 Debtor 2         Amy E McClure                                                                                                         Case number (if known)   17-41925

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                  $8,425.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $450,000.00
 56. Part 2: Total vehicles, line 5                                                                           $17,481.00
 57. Part 3: Total personal and household items, line 15                                                       $7,500.00
 58. Part 4: Total financial assets, line 36                                                                   $8,425.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $33,406.00              Copy personal property total              $33,406.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $483,406.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 6
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 Fill in this information to identify your case:

 Debtor 1                 Robert E McClure, Jr.
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Amy E McClure
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MASSACHUSETTS

 Case number           17-41925
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      5 Montclair Circle Chelmsford, MA                               $450,000.00                             $500,000.00      Mass. Gen. Laws c.188, §§ 1,
      01824 Middlesex County                                                                                                   3
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2012 Mazda MAZDA-6 60000 miles                                    $7,997.00                                $2,545.00     Mass. Gen. Laws c. 235, §
      Line from Schedule A/B: 3.1                                                                                              34(16)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2007 Acura TL 120000 miles                                        $6,370.00                                $6,370.00     Mass. Gen. Laws c. 235, §
      Line from Schedule A/B: 3.2                                                                                              34(16)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2010 Chevrolet Cobalt 8400 miles                                  $3,114.00                                $3,114.00     Mass. Gen. Laws c. 235, §
      Line from Schedule A/B: 3.3                                                                                              34(16)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Household Goods and Furnishings                                   $5,000.00                                $5,000.00     Mass. Gen. Laws c.235, §
      Line from Schedule A/B: 6.1                                                                                              34(2)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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                 Case 17-41925                   Doc 31              Filed 12/14/17 Entered 12/14/17 13:25:14                             Desc Main
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 Debtor 1    Robert E McClure, Jr.
 Debtor 2    Amy E McClure                                                                               Case number (if known)     17-41925
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Clothing / Personal effects                                       $2,500.00                                 $2,500.00        Mass. Gen. Laws c.235, §
     Line from Schedule A/B: 11.1                                                                                                 34(1)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Lowell Five                                               $251.00                                   $251.00        Mass. Gen. Laws c. 246, §
     Line from Schedule A/B: 17.1                                                                                                 28A
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Hanscom Federal Credit                                     $25.00                                    $25.00        Mass. Gen. Laws c. 246, §
     Union                                                                                                                        28A
     Line from Schedule A/B: 17.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Lowell Five                                                $72.00                                    $72.00        Mass. Gen. Laws c. 246, §
     Line from Schedule A/B: 17.3                                                                                                 28A
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking and Svings: Enterprise                                     $244.00                                   $244.00        Mass. Gen. Laws c. 246, §
     Bank                                                                                                                         28A
     Checking acct xx9569 $199.00                                                          100% of fair market value, up to
     Savings acct xxxx1622 $45.00                                                          any applicable statutory limit
     Line from Schedule A/B: 17.4

     Remcon Flooring, Inc.                                                  $0.00                                     $0.00       Mass. Gen. Laws c. 235, §
     80 % ownership                                                                                                               34(17)
     Line from Schedule A/B: 19.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: INVESCO                                                        $415.00                                      $0.00       Mass. Gen. Laws c. 235 § 34A
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Federal and State: Expected                                       $7,418.00                                 $5,000.00        Mass. Gen. Laws c. 235, §
     Federal Tax Refund of $4496.00 2016                                                                                          34(15)
     State Tax Refund of $2,922.00 2016                                                    100% of fair market value, up to
     Line from Schedule A/B: 28.1                                                          any applicable statutory limit

     Federal and State: Expected                                       $7,418.00                                 $2,000.00        Mass. Gen. Laws c. 235, §
     Federal Tax Refund of $4496.00 2016                                                                                          34(17)
     State Tax Refund of $2,922.00 2016                                                    100% of fair market value, up to
     Line from Schedule A/B: 28.1                                                          any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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                   Case 17-41925                  Doc 31             Filed 12/14/17 Entered 12/14/17 13:25:14                                  Desc Main
                                                                      Document     Page 17 of 23
 Fill in this information to identify your case:

 Debtor 1                   Robert E McClure, Jr.
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Amy E McClure
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MASSACHUSETTS

 Case number           17-41925
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Maria King                               Describe the property that secures the claim:                 $14,000.00              $450,000.00                     $0.00
         Creditor's Name                          5 Montclair Circle Chelmsford, MA
                                                  01824 Middlesex County
                                                  As of the date you file, the claim is: Check all that
         1 Patriot Way                            apply.
         Chelmsford, MA 01824                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Second Mortgage
       community debt

 Date debt was incurred          11/07/2012                Last 4 digits of account number


 2.2     MTGLQ investors, LP                      Describe the property that secures the claim:               $222,477.00               $450,000.00                     $0.00
         Creditor's Name                          5 Montclair Circle Chelmsford, MA
         c/o Goldman Sachs                        01824 Middlesex County
         Group, Inc
         6011 Connection Drive,                   As of the date you file, the claim is: Check all that
                                                  apply.
         5th Floor                                    Contingent
         Irving, TX 75039
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   First Mortgage
       community debt

 Date debt was incurred          01/14/2004                Last 4 digits of account number        2097

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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                 Case 17-41925                    Doc 31              Filed 12/14/17 Entered 12/14/17 13:25:14                                        Desc Main
                                                                       Document     Page 18 of 23
 Debtor 1 Robert E McClure, Jr.                                                                               Case number (if know)         17-41925
               First Name                  Middle Name                      Last Name
 Debtor 2 Amy E McClure
               First Name                  Middle Name                      Last Name




         Santander Consumer
 2.3                                                                                                                   $5,452.00                  $7,997.00                 $0.00
         USA IncBank N/A                            Describe the property that secures the claim:
         Creditor's Name                            2012 Mazda MAZDA-6 60000 miles

         PO Box 961245
                                                    As of the date you file, the claim is: Check all that
         Fort Worth, TX                             apply.
         76161-1245                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         3491


   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $241,929.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $241,929.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.2
          J. P. Morgan Chase Bank, N.A.
          P O Box 183166                                                                              Last 4 digits of account number   4878
          Columbus, OH 43218-3166

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.2
          MTGLQ
          c/o Goldman Sachs Group, Inc.                                                               Last 4 digits of account number
          6011 Connection Drive, 5th Floor
          Irving, TX 75039

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.2
          MTGLQInvestors, LP
          Korde & Associates, P. C.                                                                   Last 4 digits of account number
          900 Chelmsford Street, Suite 3102
          Lowell, MA 01851




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                     Robert E McClure, Jr.
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Amy E McClure
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF MASSACHUSETTS

 Case number           17-41925
 (if known)
                                                                                                                                                          Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority            Nonpriority
                                                                                                                                              amount              amount
 2.1          Internal Revenue Service                               Last 4 digits of account number                                  $0.00               $0.00                 $0.00
              Priority Creditor's Name
              P O Box 7346                                           When was the debt incurred?
              Philadelphia, PA 19101-7346
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                Page 1 of 5
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                  Case 17-41925                  Doc 31              Filed 12/14/17 Entered 12/14/17 13:25:14                                          Desc Main
                                                                      Document     Page 20 of 23
 Debtor 1 Robert E McClure, Jr.
 Debtor 2 Amy E McClure                                                                                      Case number (if know)           17-41925

 2.2        MA DOR                                                   Last 4 digits of account number                        $47,369.00             $47,369.00                    $0.00
            Priority Creditor's Name
            Bankruptcy Unit                                          When was the debt incurred?
            POB 9564
            Boston, MA 02114-9564
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                            Tax payment due

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Capital One                                                Last 4 digits of account number        5211                                                        $1,231.00
            Nonpriority Creditor's Name
            P.O. Box 30285                                             When was the debt incurred?
            Salt Lake City, UT 84114
            Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify   Credit card purchases




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 Debtor 1 Robert E McClure, Jr.
 Debtor 2 Amy E McClure                                                                                    Case number (if know)         17-41925

 4.2      Capital One Bank (USA), N.A.                                Last 4 digits of account number       1916                                              $5,810.13
          Nonpriority Creditor's Name
          c/o Solomon & Solomon P.C.                                  When was the debt incurred?
          Columbia Circle
          P.O. Box 15019
          Albany, NY 12212-5019
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Credit card purchases
                                                                                          Acct 3987 $3,392.00
              Yes                                                        Other. Specify   Acct 1916 $ 2,418.13


 4.3      Citi                                                        Last 4 digits of account number       8959                                              $3,390.00
          Nonpriority Creditor's Name
          Customer Service                                            When was the debt incurred?
          BOX 6004
          Sioux Falls, SD 57117-6004
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit card purchases


 4.4      Citizens Bank                                               Last 4 digits of account number       0719                                              $1,559.00
          Nonpriority Creditor's Name
          Attn: Collections Bureau                                    When was the debt incurred?
          P.O. Box 7092
          Bridgeport, CT 06601
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit card purchases




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 4.5       Discover Card                                              Last 4 digits of account number       5475                                           $20,401.00
           Nonpriority Creditor's Name
           POB 30421                                                  When was the debt incurred?
           Salt Lake City, UT 84130-0421
           Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit card purchases


 4.6       MA DOR                                                     Last 4 digits of account number                                                         $6,398.00
           Nonpriority Creditor's Name
           Bankruptcy Unit                                            When was the debt incurred?
           POB 9564
           Boston, MA 02114-9564
           Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Tax payment due


 4.7       Maria King                                                 Last 4 digits of account number                                                      $62,000.00
           Nonpriority Creditor's Name
           1 Patriot Way                                              When was the debt incurred?
           Chelmsford, MA 01824
           Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Cash Advances

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:      Add the Amounts for Each Type of Unsecured Claim

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6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                          Total Claim
                        6a.   Domestic support obligations                                               6a.      $                     0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                       6b.      $                47,369.00
                        6c.   Claims for death or personal injury while you were intoxicated             6c.      $                     0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.    6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                   6e.      $                47,369.00

                                                                                                                          Total Claim
                        6f.   Student loans                                                              6f.      $                     0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                      6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts          6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount       6i.
                              here.                                                                               $              100,789.13

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                6j.      $              100,789.13




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